
81 N.Y.2d 994 (1993)
Violet M. Terio, Respondent,
v.
Vincent Terio, Appellant.
Court of Appeals of the State of New York.
Submitted March 1, 1993.
Decided May 6, 1993.
On the Court's own motion, appeal, insofar as taken from the Appellate Division order affirming the judgment of divorce, dismissed, without costs, upon the ground that no substantial constitutional question is directly involved, and appeal, insofar as taken from the Appellate Division order affirming the denial of defendant's motion to vacate the judgment of divorce, dismissed, without costs, upon the ground that that order does not finally determine the action within the meaning of the Constitution. Motion for poor person relief dismissed as academic.
